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           AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

UNITED STATES OF AMERICA                )
                                        ) ss
SOUTHERN DISTRICT OF IOWA               )

      Your affiant, Ryan Wood, being duly sworn states and deposes as follows:

   1. I am a sworn police officer with the Iowa City Police Department and have
been since November 2006. I have been a certified police officer in the state of Iowa
since April 2006. Before my employment with the Iowa City Police Department, I was
employed by the Linn County Sheriff’s Office. During my employment with the Iowa
City Police Department, I have served as a patrol officer; a detective on the Street
Crimes Action Team (a unit focused on gangs and narcotics enforcement), and a
narcotics investigator assigned to the Johnson County Multi-Agency Drug Task Force
(JCDTF). The JCDTF is a multi-agency task force focused on narcotics interdiction
and enforcement in the Johnson County area. I have been assigned to the JCDTF
since December 2017. During the normal course of my duties, I conduct investigations
involving a variety of criminal violations, including violations of federal firearms
statutes and federal narcotics statutes. I have arrested numerous individuals for
violating both state and federal statutes related to the possession, manufacture, sale
and/or distribution of controlled substances. I have also received formal training
through the Iowa Law Enforcement Academy, the Midwest Counterdrug Training
Center, the Iowa Department of Public Safety Law Enforcement Intelligence Network.

    2. This affidavit is in support of a criminal complaint and arrest warrant for John
Robert Muriello (Muriello), charging him with Conspiracy to Distribute and Possess
with the Intent to Distribute 50 grams and more of methamphetamine, a Schedule II
Controlled Substance, and death resulted from the use of the methamphetamine, in
violation of Title 21, United States Code, Sections 846, 841(a)(1), 841(b)(1)(A) and
with possession of child pornography depicting prepubescent minors and minors
under the age of twelve years in violation of Title 18, United States Code, Section
2252(a)(4)(B), (b)(2). This affidavit contains some, but not all, of the information
known to me regarding this investigation. It contains information provided to me by
law enforcement officers and witnesses including police reports as I was not present
for all of the incidents reported below.

                                  Probable Cause

    3. On May 12, 2021, at approximately 6:00 a.m., Eric Johnathan Hojka (Hojka)
called 9-1-1 regarding the unconscious victim referred to hereinafter as TS. Police
and ambulance responded and attempted life-saving measures on TS. TS was
transported to the hospital where he was pronounced dead. An autopsy revealed TS



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died of methamphetamine intoxication. There was a “recent minute needle puncture
mark” found during the autopsy.

   4. Investigation revealed that Hojka was a regular user of methamphetamine,
that he had obtained methamphetamine through his relationship with Muriello, from
a man in California, and had distributed it to TS, who injected it, lost consciousness,
and died. Further investigation revealed Hojka and Muriello had been obtaining
quantities of “ice” methamphetamine (as much as an ounce or more at a time) on
multiple occasions by mail from the supplier in California. Both Muriello and Hojka
communicated with the California supplier by telephone and via “Zoom” rooms. On
May 18, 2022, in federal district court, Hojka entered a guilty plea to conspiracy to
distribute 50 grams and more of methamphetamine resulting in the death of TS.

   5. In July of 2021, the California methamphetamine supplier, mentioned above,
was investigated in an unrelated matter, conducted separately by the United States
Postal Inspection Service (USPIS). During their investigation, a mail package sent
by the California supplier to Chicago, Illinois was intercepted by the USPIS and
found to contain to 112.10 grams of a substance containing methamphetamine that
was found by the USPIS’s laboratory to be about 95% pure methamphetamine.

   6. Further investigation revealed that the California supplier had been mailing
packages of methamphetamine to Muriello, and some to Hojka, beginning in 2020.
Evidence recovered from Hojka’s cellular telephone revealed drug-related contacts
with the California supplier up to May of 2021, just before the death of TS.

    7. On May 28, 2021, members of the Iowa City police department conducted a
search of Muriello’s residence in Iowa City, Iowa. During the search, police found
and seized numerous items including laptops (MacBooks), cellphones, external
computer storage devices (“flash drive” and Seagate External HDD), CD’s, DVD’s,
tapes, and floppy disks. They also found three separate packages containing .07, .11,
and 1.87 grams of methamphetamine. Data from the electronic devices was
downloaded and reviewed by officers forensically-trained to handle digital media such
as the items discovered in Muriello’s residence.

    8. The Seagate External HDD external hard drive found in an office used by
Muriello had three partitions and was password protected. Police were able to
determine the password to be “MethFuck666” and used it to decrypt the partitions.
Thousands of artifacts were found in unallocated space within the device including
media files (photos and videos). In total, 18,580 photos and 3,183 videos were
discovered on the device. Nearly all were pornographic and approximately 12,000 of
the media files were of male children (boys) under the age of 18. The images could
not be linked to specific files or file names but a search of file names revealed certain
file names were associated with “bb rpe” which your affiant believes means “baby
rape.” These were associated with a deleted “zip” file (compressed file). The zip file

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with this name had 6 directories and a total of 86 media files, most were videos. There
were 1,337 videos carved from the device. There were multiple videos of pre-
pubescent children engaged in bestiality (3), pre-pubescent children engaged in
bondage (9), and pre-pubescent children engaged in sex acts (163). The hash values
(forensic fingerprints) of the images were sent to National Center for Missing and
Exploited Children (NCMEC) and it found 165 identified children from its database
and 1,034 recognized by NCMEC’s initial Hash Value Comparison Report, indicating
that these images had previously been submitted to NCMEC. There were images of
Muriello found in the device including images where the words “Meth Junkie” and
“666” and “Pedo Cock” were written on his torso.

    9. The police found additional evidence on a 13-incle Apple MacBook Pro laptop
also found in the office of Muriello’s residence. The password “MethFuck666”
successfully opened the files. One of the user accounts on the laptop was named “john
muriello” and the other was named “billybigelow”, a character from the Rodgers and
Hammerstein musical “Carousel.” In the “john muriello” user file/account, there was
a directory named “cumpilations” that contained 5 videos of boys 10 to 14 years old,
or so, engaging in sex acts. In another directory named “26 very hot vids” there were
at least 18 videos depicting pre-pubescent children (2 identified by NCMEC) engaged
in sex acts.

    10. Four profile names for “Skype” accounts were found on the Apple laptop
mentioned above including bbchemperv, john.muriello, live:jecr6969, and erichojka.
Many “Skype” chats recovered from the laptop were associated with drug use and
overt sexual activity. In addition, an iMac computer was found to have chats
involving the use and distribution of drugs and child pornography including a video
in allocated space named: !!!!!video_boys_fucking_very_gd_v5b.3gp.

    11. On June 21, 2022, your affiant and others interviewed a cooperating
defendant (CD) who your affiant believes is reliable. The CD agreed to be interviewed
by law enforcement in the presence of his attorney. The CD lived in the Iowa City
area during the relevant time period and described knowing “John,” a professor at
some college in Iowa City. [Muriello is a professor of music/opera at the University of
Iowa.] The CD positively identified a photograph of John Muriello as “John.” The
CD advised that John is a person engaged in distributing methamphetamine and
child pornography. The CD was aware that John ordered methamphetamine over the
internet from someone in California and that John received packages of
methamphetamine in the mail. The CD advised that about a year to a year and a half
ago, John told the CD that John had purchased a quarter of a pound of
methamphetamine from California which was shipped to John. John had provided
one ounce of the drugs to a person named Eric and Eric then provided it to a man
visiting from Las Vegas who overdosed and died. Your affiant is certain that the CD
is referring to Eric Hojka and the death of TS.



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